              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION


DON GIBSON, LAUREN CRISS, and              )
JOHN MEINERS, individually and on          )
behalf of all others similarly situated,   )       Case No. 4:23-cv-00788-SRB
                                           )
                 Plaintiffs,               )
                                           )
       v.                                  )
                                           )
THE NATIONAL ASSOCIATION OF                )
REALTORS, et al.,                          )
                                           )
                 Defendants.               )

       DEFENDANT BERKSHIRE HATHAWAY ENERGY COMPANY’S
               MOTION TO COMPEL ARBITRATION

                                                  January 17, 2025
Jeffrey J. Simon                                  Katherine B. Forrest (pro hac vice)
Taylor Concannon Hausmann                         Andrew G. Gordon (pro hac vice)
HUSCH BLACKWELL LLP                               Anna R. Gressel (pro hac vice)
4801 Main Street, Suite 1000                      Yotam Barkai (pro hac vice)
Kansas City, Missouri 64112                       PAUL, WEISS, RIFKIND,
(816) 983-8000                                    WHARTON & GARRISON LLP
                                                  1285 Avenue of the Americas
                                                  New York, New York 10019
                                                  (212) 373-3000




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       Defendant Berkshire Hathaway Energy Company (“BHE”) moves for an order compelling

arbitration. No named plaintiff contracted or transacted with BHE, BHE’s direct subsidiary—

HomeServices of America, Inc. (“HSA”)—or any associated entity, broker, or agent.

See Consolidated Amended Class Action Complaint ¶¶ 29-32. To the extent that some absent

putative class member did enter a home seller contract with an HSA subsidiary or a franchisee of

an HSA subsidiary, that contract likely would have contained an arbitration provision. See

Declaration of Anna R. Gressel in Support of BHE’s Motion to Compel Arbitration (“Gressel

Declaration”), Exs. B-PP. BHE moved to strike class allegations on that basis, see ECF No. 343,

but the Court denied that motion and then denied BHE’s motion to reconsider that ruling, see ECF

Nos. 589, 630. Accordingly, it is now clear that there will be putative class members who entered

home seller contracts with an HSA subsidiary or a franchisee of an HSA subsidiary.

       BHE therefore moves to compel arbitration pursuant to the Federal Arbitration Act,

9 U.S.C. §§ 4, 206, as to any absent putative class member who signed an agreement containing

an arbitration or class-action waiver provision with any BHE subsidiary or affiliate. Because the

question of enforceability is for the arbitrator—and, in any event, BHE is able to enforce these

agreements to compel arbitration—the Court should grant BHE’s motion to compel. The crux of

Plaintiffs’ claims relates to the home seller contracts that are fundamentally intertwined with the

antitrust allegations in this suit—and if BHE must litigate a case relating to those contracts, it

would be inequitable not to allow BHE to enforce them.

       Accordingly, and for the reasons more fully set forth in BHE’s Suggestions in Support of

this Motion, BHE hereby moves the Court to:

       1.      Compel arbitration of any disputes by putative class members who are subject to
               arbitration or mediation agreements with any BHE subsidiaries or affiliates; and

       2.      In the event the Court denies this motion, stay this litigation as to BHE until the
               Eighth Circuit has the opportunity to consider an appeal of such order.


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Dated: January 17, 2025           /s/ Taylor Concannon Hausmann

                                  HUSCH BLACKWELL LLP
                                  Jeffrey J. Simon, MO #35558
                                  Taylor Concannon Hausmann, MO #67056
                                  4801 Main Street, Suite 1000
                                  Kansas City, Missouri 64112
                                  Telephone: (816) 983-8000
                                  Facsimile: (816) 983-8080
                                  Jeff.Simon@huschblackwell.com
                                  Taylor.Hausmann@huschblackwell.com

                                  PAUL, WEISS, RIFKIND, WHARTON
                                  & GARRISON LLP
                                  Katherine B. Forrest (pro hac vice)
                                  Andrew G. Gordon (pro hac vice)
                                  Anna R. Gressel (pro hac vice)
                                  Yotam Barkai (pro hac vice)
                                  1285 Avenue of the Americas
                                  New York, New York 10019-6064
                                  Telephone: (212) 373-3000
                                  Facsimile: (212) 757-3990
                                  kforrest@paulweiss.com
                                  agordon@paulweiss.com
                                  agressel@paulweiss.com
                                  ybarkai@paulweiss.com

                                  Attorneys for Defendant Berkshire
                                  Hathaway Energy Company




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                               CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was served on January 17, 2025, on all counsel

of record by virtue of the Court’s CM/ECF system.

                                                            /s/ Taylor Concannon Hausmann




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